Case 6:12-CV-01590-.]A-TBS Document 2 Filed 10/22/12 Page 1 of 3 Page|D 12

lN THE ClRCU|T COURT, SEVENTH

 
  

rHoMAs E. GENTRY as Personal JuoicrAL ciRcurT m AND FoR
Represemative in re Estate of voLusrA couNTY, FLoRrDA
sANDRA LEE GENTRY, oeceased,

Plainrifr, cAsE No.: ZO\?/'?J'Z.A(ZLQ‘ C\C\

nlvisloN:

VS. m
PRrME |Nc. or NEW PRIME lNc. mass sewagede
dib/a PR¢ME lNc., Hz:@aae_ors;:_- QENW

    

Defendants. ,,,,§ '

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' gamsy_mark
WRONGFUL DEATH AUTO NEGL|GENCE COMPLA|NT

COMES NOW the Plaintiff, THOMAS E. GENTRY, as Personal Representative in re Estate
of SANDRA LEE GENTRY, Deceased, by and through his undersigned attorney, and sues the
Defendants, PR|ME |NC. or NEW PR|ME |NC. dlbla PR|ME |NC. and as grounds therefor would

allege:

1. This is an action for damages that exceeds Fifteen Thousand Dol|ars ($15,000.00],

exclusive of interests, costs, and attorney's fees.

2. Venue and jurisdiction are proper in this Court because the wrongful actoomplained
of occurred within Vo|usia County, Florida.

3. At all times material hereto, the P|aintiff, THOMAS E. GENTRY, was and is a resident
of Brevard County, Florida.

4. At all times material hereto, the Defendant, PR|ME |NC., was and is a Foreign
Corporation of 2740 North Mayfair, Springiield, Missouri, 65803, licensed to do business interstate
by Permit, Certiticate'and License through the lnterstate Commerce Commission and may receive

service through Steve Crawford, Esquire, Genera| Counse| at their headquarters located at 2740

North Mayfair. Spn'ngfield, Nlissouri. 65803.

Case 6:12-Cv-01590-.]A-TBS Document 2 Filed 10/22/12 Page 2 of 3 Page|D 13

5. At all times material hereto, the Defendant, NEW _PR|ME |NC. d/bla PRIME, lNC..
was and is a F|orida Corporation licensed to do business in the State of F|orida and can receive
service through ita Registered Agent. Gazi Rahman, 39720 U S Highway #19 North, Tar'pon
Springs, F|orida 34869.

6. THOMAS E. GENTRY was appointed as Personal Representativa of the Estate of
SANDRA LEE GENTRY by Letters of Administration issued on June 12, 2012, Fi|e Number 05-
2012~CP-38368-XXXX-XX by Honorable John M. Harris. (A copy of Letters of Administration

attached hereto as Plaintifl’s Exhib‘rt A.)
7. THOMAS E. GENTRY brings this action on behalf of THOMAS E. GENTRY, who is

the Husband of SANDRA LEE GENTRY, Deoeaaed, and is entitled to maintain a cause of action for
the permanent loss of his spousal relationship with her, and for his pain and suiiering under
Florida's Wrongful Death Act. He is also SANDRA LEE GENTRY'S “survivoi” and “husband' under
F|orida's Wrongful Death Aot and therefore beneficiary under the Florida’s Wrongful Death Act.

8. This is an action for Wrongful Death, pursuant to Section 768.28 of the F|orida
Statutes. for the negligent actions of the Defendants, PR|ME |NC. or NEW PRIME |NC. dlb/a
PRIME lNC. and the Defendant’s unknown phantom driver, while SANDRA LEE GENTRY,
Deceased, was traveling as a passenger in a motor vehicle on the same interstate as the
Defendant's tractor and/or trailer. ' _

9. On or about November 26, 2011, the Defendant, PR|ME lNC. or NEW PRIME |NC.
d/bla PRIME |NC., owned a truck and/or trailer which they allowed to be operated by an unknown
phantom dn'ver, on |-95 Northbound near the exit ramp for U S # 1. Ormond Beach, Volusia County,
Florida.

10. At that time and place, the unknown phantom driver did so negligently operate or
maintain the 18-wheeler with the consent of the owner of the tractor and/or the trailer, Defendant,
PR|ME |NC. or NEW PRIME lNC. d/bla PR|ME, |NC.l so as to move into the P|aintifi‘s lane where
the vehicle in which the Plaintiff, SANDRA LEE GENTRY, Deceased, was a passenger. forcing

Case 6:12-Cv-01590-.]A-TBS Document 2 Filed 10/22/12 Page 3 of 3 Page|D 14

Plaintifi’s vehicle off the highway, violating F|orida Statute 316.089(1) according to the Homicide
Report prepared by the F|orida Highway Patro|, by moving into the path of the Plaintifi's vehic|e,
Defenc|ant's driver being unable to stay in a single lane.

11. As a direct and proximate result of the negligence of the Defendaritl PR|ME |NC. or
NEW PR|ME lNC. dib/a PR|ME |NC. and the unknown phantom driver, the Plaintiff's deceased
Wife, SANDRA LEE GENTRY, was killed, and the Plaintiff. THOMAS E. GENTRY, as Personal
Representative in re Estate of SANDRA LEE GENTRY, Deoeased, the Husband of SANDRA LEE

GENTRY, Deoeased, has incurred damages.

WHEREFORE, Plaintiff, THOMAS E. GENTRY, as Personal Representative in re Estate of
SANDRA LEE GENTR¥, Deceased, who is the Husband of SANDRA LEE GENTR¥, Deceased,
demands judgment and damages against Defendants, PR|NlE lNC. or NEW PR|ME lNC. dib/a
PRIME |NC.l including damages for the past and future loss of support and services, post and future
loss of his Wife’s oompanionship, and the past, present, and future mental anguish, pain and
suffering of his loss, memorial service expenses, and any otherdamages recoverable under F|orida
Law. P|aintiff, THOMAS E. GENTRY, as Personal Representative in re Estate of SANDRA LEE
GENTR¥. Deceased, who is the Husband of SANDRA LEE GENTRY, Deceased, demands a trial

by jury of all issues so triable.

JAMES W. LEDFORD, F.A.

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JAMES W. LEDFORD, ESQU|RE

F|orida Bar No.: 354341

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Ormond Beach. F|orida 32174-7632

(386) 672-661 1

Attorney for Plaintiff

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